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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,              )
                                       )
                    Plaintiff,         )
                                       )
      vs.                              )   Case No. 1:18CR000122 SNLJ
                                       )
RANDALL C. LEWIS                       )
                                       )
                    Defendant.         )

                                      ORDER

      IT IS HEREBY ORDERED that the report and recommendation of United States

Magistrate Judge Abbie Crites-Leoni (#97), filed April 15, 2020 be and is SUSTAINED,

ADOPTED and INCORPORATED herein.

      IT IS HEREBY ORDERED that Defendant' s Motions to Suppress Evidence and

Request for Hearing and Franks Hearing ( doc. #41) and to Dismiss Superseding

Indictment (Doc. #70) be DENIED.

      Dated this   F/1,    day ofMay, 2020.




                                       STEPHENN.LlMi'AGH,JR.
                                       UNITED STATES DISTRICT JUDGE
